      Case 3:03-cr-00018-SMR-SBJ Document 635 Filed 09/29/10 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

                                              *
UNITED STATES OF AMERICA,                     *
                                              *       3:03-cr-0018
       Plaintiff,                             *
                                              *
       v.                                     *
                                              *       ACCEPTANCE AND MODIFICATION
                                              *       OF MAGISTRATE JUDGE’S REPORT &
AIKINS FRIMPONG,                              *       RECOMMENDATION REGARDING
                                              *       PETITION FOR REVOCATION OF
                                              *       SUPERVISED RELEASE
       Defendant.                             *
                                              *

       Aikins Frimpong (“Defendant”) is alleged to have violated conditions of his supervised

release. See Clerk’s No. 608. The issue was referred to United States Magistrate Judge Thomas

J. Shields pursuant to 18 U.S.C. § 3401(i), who conducted an evidentiary hearing on August 5,

2010, and a hearing concerning punishment on August 16, 2010. On August 30, 2010,

Magistrate Judge Shields issued a Final Report and Recommendation (“R & R”), suggesting that

the Petition to Revoke Defendant’s supervised release be granted, and that Defendant be

sentenced to 12 months incarceration and 24 months of supervised release. Clerk’s No. 626.

Defendant Objected to the R & R on September 20, 2010. Clerk’s No. 631. The matter is fully

submitted.

       When a party objects to a magistrate judge’s report and recommendation, a district court

must make a de novo determination regarding those objections. See 28 U.S.C. § 636(b)(1); see

also United States v. Azure, 539 F.3d 904, 909 (8th Cir. 2008) (stating that a district court must

conduct a de novo review as required in § 636(b)(1) for reports and recommendations issued

pursuant to 18 U.S.C. § 3401(i)). When the report and recommendation is made after an

evidentiary hearing, de novo review “requires the district court to, at a minimum, listen to the
      Case 3:03-cr-00018-SMR-SBJ Document 635 Filed 09/29/10 Page 2 of 5




tape of the hearing, or read the transcript.” Azure, 539 F.3d at 910 (quoting United States v.

Benitez, No. 06-3763, 2007 WL 2230381, at *1 (8th Cir. Aug. 6, 2007). The Court has

conducted the required de novo review, including examination of the Magistrate’s R & R, as

well as the transcripts from both hearings. Based on this review, the Court accepts the

Magistrate’s R & R in part, and modifies it in part.

                   I. ALLEGED VIOLATIONS OF SUPERVISED RELEASE

       Defendant allegedly violated the terms of his supervised release in two distinct manners.

First, it is alleged that Defendant failed to follow the directions of his Probation Officer when, on

July 1, 2010, he refused to board a bus heading to Des Moines, Iowa, in order to obtain a work

permit from the Immigration and Customs Enforcement (“ICE”) office. Clerk’s No. 608 (Mot.

for Revocation) at 2-3. Second, Defendant is alleged to have failed to file any monthly reports

with the Probation Office. Id. at 3. Magistrate Judge Shields found that both instances violated

the conditions of Defendant’s supervised release. R & R at 5-6.

       Defendant’s objections to the Magistrate’s findings are best described as excuses.

Defendant admits that he did not actually file any monthly reports with the Probation Office. See

Def’s Obj. to R & R at 4. He argues, however, that his failure to do so was justified because no

one from the Probation Office reminded him of this requirement, and because, regardless of his

failure to file the required reports, the Probation Office was aware of his whereabouts. See

Revocation Hr’g. Tr. (Clerks’ No. 630) at 9-10. The Court is not persuaded, and thus finds that

Defendant violated the conditions of his supervised release by failing to file monthly reports.

       Similarly, Defendant does not dispute that he refused to go to Des Moines on July 1,

2010 to obtain a work permit from the ICE office. See Def’s Obj. to R & R at 3. Instead, he

argues that this failure was justified by his disagreement with a sentence in the court order
      Case 3:03-cr-00018-SMR-SBJ Document 635 Filed 09/29/10 Page 3 of 5




directing him to travel to the ICE office, which stated that Defendant “lost his immigration

case.” Id. Defendant’s concerns notwithstanding, the uncontested evidence establishes that

Defendant refused both his Probation Officer’s instruction, and a court order issued by the

United States District Judge John A. Jarvey (Clerk’s No. 607). What makes this refusal even

more significant is that it came after Probation Officers had expended a large amount of time and

resources, including booking travel and overnight accommodations for Defendant, and even

obtaining, at Defendant’s request, a court order directing his travel. See Revocation Hr’g. Tr. at

18-20. Accordingly, the Court finds that Defendant’s failure to travel to the ICE office in Des

Moines, Iowa, as directed by the Probation Office, violated the conditions of his supervised

release.

                          II. REVOCATION OF SUPERVISED RELEASE

       Defendant next objects to the Magistrate Judge’s recommendation that his supervised

release be revoked. As an initial matter, Defendant alerts the Court that revocation is an

available – but not required – course of action in this case. See U.S.S.G. § 7B1.3(a)(2). To this

end, Defendant argues that his refusal to travel to Des Moines was motivated solely by his

concern over his immigration case, and not because he wanted to avoid getting a work permit.

Def’s Obj. to R & R at 3. He further notes that, absent the July 1, 2010 incident, he had

substantially complied with the terms of his supervised release. Id. Finally, he states that

revocation would likely not be ordered for merely failing to file monthly reports. Id. Thus,

Defendant requests that the Court modify or extend his term of supervised release in lieu of

revocation. Id.

           While the Court agrees that Defendant has complied with the majority of his conditions

of release, his current violations nonetheless warrant revocation. Of particular concern to the
      Case 3:03-cr-00018-SMR-SBJ Document 635 Filed 09/29/10 Page 4 of 5




Court is Defendant’s blatant refusal to follow instructions from his Probation Officer. That this

refusal was motivated by concern over the status of his immigration case, as opposed to a more

sinister or defiant motive, is not the ultimate issue. In order for the supervised release system to

function, probation offices must have assurance that their efforts will not be resisted at every

turn. It is of no matter whether this resistence is due to a supervisee’s feelings about the actual

directive, or if it is related to some peripheral stressor; reasonable conditions of supervision must

be followed.

       Here, Defendant’s violations exhibit a troubling pattern of behavior. Taken in

combination, his failure to file required monthly reports, and his apparent belief that concerns

over the status of his immigration case entitled him to disregard the requests and instruction of

the Probation Office, leads the Court to conclude that Defendant believes that the conditions of

his supervised release apply at his convenience. The Court finds this to be a fundamental

problem that warrants revocation.

                               III. PERIOD OF INCARCERATION

       Having concluded that Defendant’s violations warrant revocation of his supervised

release, the Court must determine the appropriate sentence. Magistrate Judge Shields

recommends a sentence of 12 months incarceration, and 24 months of supervised release. R & R

at 8. The applicable sentencing guideline range is 7 to 13 months. U.S.S.G. 7B1.4(a) (p.s.).

However, this range is not binding upon the Court; it is merely advisory. See generally United

States v. Booker, 543 U.S. 220 (2005).

       The Court must fashion a sentence that is sufficient, but not greater than necessary to

comply with the factors listed in 18 U.S.C. § 3553(a). Having considered Defendant’s conduct

in light of the § 3553(a) factors, the Court determines that a sentence of 3 months incarceration,
      Case 3:03-cr-00018-SMR-SBJ Document 635 Filed 09/29/10 Page 5 of 5




followed by 12 months of supervised release is appropriate. In reaching this conclusion the

Court notes: (1) the nature and circumstances of Defendant’s first violation stem from a

misunderstanding surrounding his immigration case, as opposed to pure insubordination; (2)

Defendant’s violations, while concerning, are not the most serious types of violations that come

before the Court; and (3) Defendant’s violations do not indicate that a lengthy sentence is

necessary to protect the public.

                                       IV. CONCLUSION

       For the reasons discussed above, the Magistrate Judge’s Report and Recommendation

(Clerk’s No. 626) is ACCEPTED IN PART, and MODIFIED IN PART to reflect that Defendant

is sentenced to 3 months of incarceration and 12 months of supervised release.

       IT IS SO ORDERED.

       Dated this _29th_ day of September, 2010.
